Case 2:15-cv-00767-TS-DAO Document 214 Filed 02/26/24 PageID.3335 Page 1 of 6




 RYAN B. HANCEY (9101)
 ADAM L. GRUNDVIG (12106)
 KESLER & RUST
 68 South Main Street, 2nd Floor
 Salt Lake City, Utah 84101
 Telephone: (801) 532-8000
 Email:         rhancey@keslerrust.com
                agrundvig@keslerrust.com
 Attorneys for plaintiff Christina Rossi

                            THE UNITED STATES DISTRICT COURT
                                        DISTRICT OF UTAH

   CHRISTINA ROSSI,

           Plaintiff,
                                                          CHRISTINA ROSSI’S TRIAL BRIEF
   v.

   UNIVERSITY OF UTAH, a Utah state
   educational institution; F. EDWARD
   DUDEK, an individual, in his official and
   individual capacities KRISTIN A. KEEFE,                   Case No. 2:15-cv-00767-TS-DAO
   an individual, in his official and individual
   capacities; JOHN A. WHITE, an                                District Judge Ted Stewart
   individual, in his official and individual
   capacities: JEFFREY J. EKSTRAND, an                     Magistrate Judge Daphne A. Oberg
   individual, in his official and individual
   capacities; BRADLEY GREGER, an
   individual, in his official and individual
   capacities; JEFFREY
   R. BOTKINS, an individual, in his official
   and individual capacities; and DOES 1
   through 25, inclusive.,
           Defendants.


        Pursuant to this Court’s February 8, 2024 Trial Order, plaintiff Christina Rossi

 respectfully submits this Trial Brief stating the cause of action she plans to pursue at trial, the




                                                    1
Case 2:15-cv-00767-TS-DAO Document 214 Filed 02/26/24 PageID.3336 Page 2 of 6




 elements and standards of proof for that cause of action, and the witnesses she intends to call

 (along with a short statement of the substance of each witness’ anticipated testimony).

 Cause of action – defamation (including defamation per se)

 Cause of action elements and standard of proof

 The elements of defamation are:

        (1) a defendant published statement(s) about a plaintiff;

        (2) the statements were false;

        (3) the statements were defamatory;

        (4) the statements were not privileged, or, if the statements were privileged, such

        privilege was abused;

        (5) the statements were published with the required degree of fault; and

        (6) the statements caused damages to plaintiff.

 See Model Utah Jury Instructions 2d CV1602 (https://legacy.utcourts.gov/resources/muji/);

 Francis Trucking, Inc. v. Francis, No. 1:22-CV-00088-TC-JCB, 2023 WL 1472136, *5 (D. Utah

 Feb. 2, 2023) (unpublished); Hatfield v. Cottages on 78th Cmty. Ass'n, No. 21-4035, 2022 WL

 2452379, *11 (10th Cir. July 6, 2022) (unpublished).

        Her defamation claim is of the “per se” variety, in which case Model Utah Jury

 Instructions 2d CV1614 applies.

 Cause of action standard of proof

        A plaintiff has the burden to prove each element of defamation by a preponderance of the

 evidence. See Model Utah Jury Instructions 2d CV1602




                                                  2
Case 2:15-cv-00767-TS-DAO Document 214 Filed 02/26/24 PageID.3337 Page 3 of 6




 (https://legacy.utcourts.gov/resources/muji/); Rowe v. DPI Specialty Foods, Inc., 727 F. App'x

 488, 493 (10th Cir. 2018) (unpublished).

 Witnesses (and short statement of anticipated testimony)

        Christina Rossi – Rossi will testify about aspects of her family life and growing up years,

 educational pursuits (including at Boston University, the University of Utah, and MIT),

 professional pursuits (including before and after her enrollment in the University of Utah’s

 Interdepartmental Ph.D. Program in Neuroscience, the “Program”), communications with

 Program administrators and faculty members (including members of her dissertation supervisory

 committee, the “Committee”) including about her dissertation project, and aspects of her

 defamation cause of action (including noneconomic damages).

        Vicky Skelton – Ms. Skelton is anticipated to testify about some of her general and 2013

 experiences working as an administrator for the University of Utah during Rossi’s enrollment in

 the Program (including supporting Dudek with meetings and building access-related issues).

        Mark Lehmkuhle – Dr. Lehmkuhle is anticipated to testify about some of his experiences

 working as a member of Dudek’s laboratory and as an owner of Epitel, Inc. during Rossi’s

 enrollment in the Program, including Rossi’s use of an Epitel device, the evaluation of Rossi’s

 dissertation defense efforts (pre- and post-defense), and communications with members of the

 Dudek lab and Rossi about aspects of those efforts.

        Jay Spampanato – Dr. Spampanato is anticipated to testify about some of his experiences

 working as a member of Dudek’s laboratory during Rossi’s enrollment in the Program, including

 the evaluation of Rossi’s dissertation defense efforts (pre- and post-defense), and

 communications with members of the Dudek lab and Rossi about aspects of those efforts.



                                                  3
Case 2:15-cv-00767-TS-DAO Document 214 Filed 02/26/24 PageID.3338 Page 4 of 6




         Jeffrey Botkin – Dr. Botkin is anticipated to testify about some of his experiences as the

 University of Utah’s Research Integrity Officer responding to Dudek’s allegation of research

 misconduct against Rossi during her enrollment in the Program, including communications with

 Dudek and others about aspects of Dudek’s research misconduct allegations.

         F. Edward Dudek – Dr. Dudek is anticipated to testify about some of his experiences as

 Rossi’s mentor and a member of the Committee, including the evaluation of Rossi’s dissertation

 defense efforts (pre- and post-defense), and communications with members of his lab, the

 Committee, Dr. Botkin, Rossi, and others about aspects of those efforts.

         Kristen Keefe – Dr. Keefe is anticipated to testify about some of her experiences as a

 member of the Committee, including the evaluation of Rossi’s dissertation defense efforts (pre-

 and post-defense), and communications with members of the Committee, Rossi, and others about

 aspects of those efforts.

         John White – Dr. White is anticipated to testify about some of his experiences as a

 Program faculty member (including his evaluation of Rossi’s candidacy for admission into the

 Program) and member of the Committee, including the evaluation of Rossi’s dissertation defense

 efforts (pre- and post-defense), and communications with members of the Committee, Rossi, and

 others about aspects of those efforts.

         Jeffrey Ekstrand – Dr. Ekstrand is anticipated to testify about some of his experiences as

 a member of the Committee, including the evaluation of Rossi’s dissertation defense efforts (pre-

 and post-defense), and communications with members of the Committee and Rossi about aspects

 of those efforts.




                                                  4
Case 2:15-cv-00767-TS-DAO Document 214 Filed 02/26/24 PageID.3339 Page 5 of 6




        Tracy Marble – Ms. Marble is anticipated to testify about some of her experiences

 working as an administrator for the University of Utah during Rossi’s enrollment in the Program,

 including aspects of Rossi’s admission into and dismissal from the Program, and

 communications with Program faculty members about Rossi’s performance in the Program.

        Paula Rossi – Mrs. Rossi is anticipated to testify about her growing up years with Rossi

 and her observations of the impacts of Rossi’s dismissal from the Program.

        Carl Rossi – Mr. Rossi is anticipated to testify about his growing up years with Rossi and

 his observations of the impacts of Rossi’s dismissal from the Program.

        Wade Roberts – Dr. Roberts is expected to testify about the economic impact on Rossi of

 her discharge from the Program without attaining a Ph.D.

        DATED this 26th day of February 2024.


                                             KESLER & RUST

                                             /s/ Ryan B. Hancey
                                             __________________________________________
                                             RYAN B. HANCEY
                                             ADAM L. GRUNDVIG
                                             Attorneys for Christina Rossi




                                                5
Case 2:15-cv-00767-TS-DAO Document 214 Filed 02/26/24 PageID.3340 Page 6 of 6




                                 CERTIFICATE OF SERVICE

        I certify that I caused to be delivered by the Court’s electronic filing system a true and

 correct copy of CHRISTINA ROSSI’S TRIAL BRIEF this 26th day of February 2024 to the

 following:


                                                      Thom Gover
                                                      Heather Chesnut
   /s/ Mckenzie Ujhely                                Assistant Attorney General
                                                      Litigation Division
   ___________________________                        Utah Attorney General's Office
                                                      160 East 300 South, 6th Floor
                                                      P.O. Box 140856
                                                      Salt Lake City, Utah 84114
                                                      Telephone: (801) 366-0100
                                                      Facsimile: (801) 366-0101
                                                      tgover@agutah.gov
                                                      hchesnut@agutah.gov




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